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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                             1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                            Debtor.


                      DEBTOR’S MOTION FOR FINAL ORDER
          AUTHORIZING DEBTOR TO OBTAIN POST-PETITION FINANCING AND
           GRANTING SUPERPRIORITY CLAIMS TO POST-PETITION LENDERS

              USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

 case (the “Debtor” or “USAG”), hereby submits this motion (the “Motion”) for the entry of a

 final order, substantially in the form attached hereto as Exhibit A, pursuant to sections 364(c)(1),

 503, and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

 Code”), Rule 4001 of the Federal Rules of Bankruptcy Procedure, and Rule 4001-2 of the Local

 Rules of the United States Bankruptcy Court of the Southern District of Indiana, authorizing the

 Debtor to enter into a post-petition financing agreement on the terms and conditions set forth in

 two Debtor in Possession Term Loan Agreements (substantially in the form attached hereto as

 Exhibits B and C, the “DIP Credit Agreements”), by and among (i) the Debtor, as Borrower, and

 Virginia Surety Company, Inc., f/k/a Combined Specialty Insurance Company (“Virginia

 Surety”), solely in its capacity as lender, and (ii), the Debtor, as Borrower, and Great American

 Assurance Company (“Great American”), solely in its capacity as lender (collectively, Virginia

 Surety and Great American, the “DIP Lenders” and each individually a “DIP Lender”), and




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  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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 granting superpriority administrative expense status pursuant to 11 U.S.C. §364(c)(1) to the claims

 for repayment of advances and obligations due to the DIP Lenders in accordance with their

 respective DIP Credit Agreements. In support of this Motion, the Debtor respectfully states as

 follows:

                                          JURISDICTION

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (D), and the Court may enter a final

 order consistent with Article III of the United States Constitution. Venue is proper pursuant to 28

 U.S.C. §§ 1408 and 1409(a). The statutory and legal predicates for the relief requested herein are

 11 U.S.C. §§ 364(c)(1), 503, and 507, Bankruptcy Rule 4001, and Local Rule 4001-2.

                                          BACKGROUND

        2.      On December 5, 2018, USAG filed a voluntary petition for relief under chapter 11

 of the Bankruptcy Code.

        3.      The Debtor remains in possession of its property and continues to operate and

 maintain its organization as debtor in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No request has been made for the appointment of a trustee or examiner in this

 chapter 11 case.

        4.      On December 19, 2018, the United States Trustee appointed the Additional Tort

 Claimants Committee Of Sexual Abuse Survivors (the “Survivors Committee”).

        5.      USAG is a non-profit entity. Prior to the Petition Date, USAG did not have any

 significant secured or unsecured debt, aside from the contingent liabilities arising from the lawsuits

 and claims asserted against USAG by survivors of sexual abuse. After the filing of its bankruptcy

 petition, USAG entered into negotiations with the DIP Lenders about the terms of a post-petition

 loan to assist USAG in covering the expenses of its chapter 11 case.

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        6.      The result of these negotiations are (i) the draft DIP Credit Agreement with Virginia

 Surety pursuant to which Virginia Surety has agreed, subject to the approval of this Court and

 satisfaction of the conditions precedent contained in its DIP Credit Agreement, to make a $500,000

 debtor-in-possession term loan, and (ii) the draft DIP Credit Agreement with Great American,

 pursuant to which Great American has agreed, subject to the approval of this Court and satisfaction

 of the conditions precedent contained in its DIP Credit Agreement, to make a $300,000 loan. Aside

 from the identity of the DIP Lender and the amount of each loan, the DIP Credit Agreements are

 identical with respect to their material terms and in total provide USAG up to $800,000 in post-

 petition financing protected only by a superpriority administrative expense claim under 11 U.S.C.

 §364(c)(1) and subject to the aggregate Carve Out (as defined in the DIP Credit Agreements).

 Upon USAG’s exit from chapter 11 pursuant to a confirmed plan of reorganization, the DIP

 Lenders will roll up the outstanding obligations under the DIP Credit Agreements into a post-

 petition term loan in accordance with the terms of the DIP Credit Agreements. The material terms

 of the draft DIP Credit Agreements are summarized more fully below:

             SUMMARY OF MATERIAL TERMS OF PROPOSED DIP CREDIT AGREEMENT

         Term                                      Summary                              Reference

  BORROWER:              USA Gymnastics, Inc.                                         Proposed Final
                                                                                      Order ¶ 3;
                                                                                      DIP Credit
                                                                                      Agreements
                                                                                      Introductory
                                                                                      Paragraph.

  DIP LENDER:            DIP Lenders: Virginia Surety Company, Inc. f/k/a Combined    Proposed Final
                         Specialty Insurance Company and Great American Assurance     Order ¶ 3;
                         Company.                                                     DIP Credit
                                                                                      Agreements
                                                                                      Introductory
                                                                                      Paragraph.




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  DIP FACILITIES:    Superpriority Debtor in Possession Term Loan in the aggregate           Proposed Final
                     principal amount of up to $500,000 with Virginia Surety;                Order ¶ 2;
                     Superpriority Debtor in Possession Term Loan in the aggregate           DIP Credit
                     principal amount of up to $300,000 with Great American, both as         Agreements
                     definitively documented in their respective DIP Credit Agreements.      § 2.1.

  AVAILABILITY:      Subject to the conditions precedent described in each of the DIP        Proposed Final
                     Credit Agreements:                                                      Order ¶ 3; DIP
                     Draw A up to $350,000 under the DIP Credit Agreement with               Credit
                     Virginia Surety and up to $210,000 under the DIP Credit Agreement       Agreements
                     with Great American will be available [5] days after of the Final       Definition of
                     Order, for draw within 30 days.                                         Availability.
                     Draw B up to an additional $150,000 under the DIP Credit
                     Agreement with Virginia Surety and up to $90,000 under the DIP
                     Credit Agreement with Great American will be available [30] days
                     after entry of the Final Order, for draw within 30 days.

  CLOSING DATE:      Upon satisfaction or waiver of the conditions precedent set forth in    Proposed Final
                     the DIP Credit Agreements, including, without limitation, Court         Order ¶ 8;
                     approval of the Final Order satisfactory to the DIP Lenders.            DIP Credit
                                                                                             Agreements
                                                                                             §§ 3.1, 3.2.

  MATURITY DATE:     Both DIP Credit Agreements provide for a maturity date that is the      DIP Credit
                     earliest to occur of (a) March 30, 2020, (b) the effective date of a    Agreements
                     plan of reorganization for Borrower (c) the final closing date of the   § 2.2.
                     sale or transfer of all or substantially all of the assets of the
                     Borrower taken as a whole, (d) the date on which the Court enters an
                     order dismissing the case of Borrower without the consent of DIP
                     Lenders or converting such case to a case under Chapter 7 of the
                     Bankruptcy Code, (e) termination of the agreed stay of litigation by
                     Borrower relating to any prepetition insurance coverage provided by
                     DIP Lender or other general liability insurer to the Borrower (the
                     “Coverage Dispute”), excluding the litigation against Liberty
                     Insurance Underwriters, or (f) the acceleration of the Loan following
                     the occurrence of an uncured Event of Default under the DIP Credit
                     Agreement.

  USE OF PROCEEDS:   Both DIP Credit Agreements provide that the loan proceeds may be        Proposed Final
                     used to fund the Debtor’s day-to-day operations, pay the costs of the   Order ¶ 3;
                     reorganization case, including, professional fees as approved by the    DIP Credit
                     Bankruptcy Court, and to maintain and preserve the Debtor’s assets.     Agreements
                                                                                             § 2.1.

  AGREED BUDGET:     N/A

  INTEREST:          Both DIP Credit Agreements provide for four percent (4.0%)              Proposed Final
                     payable at maturity and both provide that during the continuance of     Order ¶ 3;
                     an Event of Default, the principal amount of the Loan and, to the       DIP Credit
                     extent permitted by applicable law, any interest payments on the        Agreements
                     Loan or other amounts will bear interest payable on demand at a rate    § 2.5.
                     that is seven percent (7.0%) per annum.



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  MANDATORY       Both DIP Credit Agreements provide that prior to maturity, the            Proposed Final
  PREPAYMENTS:    Borrower shall prepay the outstanding principal amount of the Term        Order ¶ 3;
                  Loans with (a) the net proceeds from the settlement of or collection      DIP Credit
                  of its claims against Liberty Insurance Underwriters asserted in USA      Agreements
                  Gymnastics, Inc. v. Ace American Ins. Co. et al., 19 ap 50012             § 2.3.
                  (Bankr. S.D. Ind.), and (b) the net proceeds of any sale of assets by
                  the Borrower.
                  Both DIP Credit Agreements provide that the Debtor will be
                  permitted to repay indebtedness prior to maturity, without penalty.
                  Repayments of principal cannot be re-borrowed.

  CARVE OUT:      Both DIP Credit Agreements provide that the DIP Lenders’                  Proposed Final
                  respective DIP Superpriority Claim is subordinate only to the             Order ¶¶ 6-7;
                  following (collectively, the “Carve Out”):                                DIP Credit
                                                                                            Agreements
                                                                                            Definition of
                                                                                            Carve Out,
                                                                                            § 4.20.

                  (a)      allowed administrative expenses pursuant to 28 U.S.C.            Proposed Final
                           § 1930(a)(6) for fees required to be paid to the Clerk of the    Order ¶ 7a;
                           Court and to the Office of the United States Trustee             DIP Credit
                           (collectively, the “U.S. Trustee Fees”); and                     Agreements
                                                                                            Definition of
                                                                                            Carve Out,
                                                                                            § 4.20.

                  (b)      to the extent allowed at any time, whether by interim order,     Proposed Final
                           procedural order or otherwise, all accrued professional fees     Order ¶ 7b;
                           (the “Allowed Professional Fees”) incurred by (i) persons        DIP Credit
                           or firms retained by the Debtor pursuant to section 327, 328     Agreement:
                           or 363 of the Bankruptcy Code (the “Debtor’s                     Definition of
                           Professionals”), (ii) persons or firms retained pursuant to      Carve Out,
                           section 328 or 1103 the Bankruptcy Code by any                   § 4.20.
                           Committee(s) appointed pursuant to section 1102 of the
                           Bankruptcy Code (the Committee(s) Professionals”), and
                           (iii) the future claimants’ representative appointed by the
                           court and persons or firms retained pursuant to section 328
                           or 1103 the Bankruptcy Code by the future claims
                           representative; and in each preceding case not yet paid at or
                           prior to the time of an Event of Default that is not otherwise
                           waived (the “Carve Out Trigger Date”) and (iv) Allowed
                           Professional Fees incurred after the Carve Out Trigger Date
                           up to the following aggregate limit, allocated 3/8ths to
                           Great American and 5/8ths to Virginia Surety, $150,000 for
                           the Debtor’s Professionals, up to $75,000 for any
                           Committee’s Professionals, up to $25,000 for any future
                           claims representative appointed by the Court and
                           reasonable and customary out-of-pocket costs and expenses
                           incurred by members of the Committee, in each case as
                           allowed by the Court.




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                  All professional fees shall be subject to the requirements of Section
                  330 of the Bankruptcy Code and Lender reserves the right to review
                  and object to any fee application filed in the Bankruptcy case.

  CARVE OUT       The date on which either DIP Lender provides notice of acceleration     Proposed Final
  TRIGGER DATE    of a Term Loan resulting from a Default or an Event of Default.         Order ¶ 7; DIP
                                                                                          Credit
                                                                                          Agreements:
                                                                                          Definition of
                                                                                          Carve Out
                                                                                          Trigger Date;
                                                                                          § 4.20.

  ADEQUATE        N/A
  PROTECTION:

  SUPERPRIORITY   Both DIP Credit Agreements provide that except to the extent            Proposed Final
  STATUS:         expressly set forth in the Final Order in respect of the Carve Out,     Order ¶ 6;
                  pursuant to section 364(c)(1) of the Bankruptcy Code, all of the        DIP Credit
                  obligations (including, without limitation, principal, interest, and    Agreements
                  indemnification obligations) with respect to the DIP Facility shall     Preamble;
                  constitute allowed senior administrative claims against the Debtor      §§ 3.2; 4.20.
                  with priority over any and all administrative expenses, adequate
                  protection claims and all other claims against the Debtor, now
                  existing or hereafter arising, of any kind whatsoever, including
                  without limitation, all administrative expenses of the kind specified
                  in sections 503(b) and 507(b) of the Bankruptcy Code, and over any
                  and all administrative expenses or other claims arising under
                  sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 507(b),
                  546(d), 726, 1113 and 1114 of the Bankruptcy Code and, upon entry
                  of the Final Order, section 506(c) of the Bankruptcy Code, whether
                  or not such expenses or claims may become secured by a judgment
                  lien or other non-consensual lien, levy, or attachment (such claims
                  of the DIP Lenders, the “DIP Superpriority Claims”).

  REPORTING AND   Both DIP Credit Agreements provide that the Borrower will provide       Proposed Final
  DISCLOSURES:    access to all financial and business records to the Lender upon         Order ¶ 3;
                  request, but the DIP Lenders will have no obligation to maintain or     DIP Credit
                  dispose of such records (which obligation will remain with              Agreements
                  Borrower).                                                              § 5.4.

  FINANCING       Both DIP Credit Agreements provide that the Borrower shall: (a) on      Proposed Final
  MILESTONES:     or before May 30, 2019 (the “Filing Date”), file a motion acceptable    Order ¶ 3; DIP
                  to Lender to approve the DIP Facility; (b) no later than July 1, 2019   Credit
                  or as soon as possible thereafter that the Bankruptcy Court’s           Agreements
                  schedule permits obtain entry of a Final DIP Order, approving the       Definition of
                  DIP Credit Agreements on a final basis, in a form and substance         Milestones,
                  acceptable to the DIP Lenders (the “Final Order”); (c) on or before     § 5.8.
                  November 1, 2019, the Debtor shall file a chapter 11 plan of
                  reorganization with the Bankruptcy Court; (d) or before January 31,
                  2020, the Bankruptcy Court shall have entered an order confirming
                  the plan of reorganization; and (e) on or before July 1, 2019, the



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                     Bankruptcy Court shall have entered an order appointing a future
                     claimants representative.

  COVENANTS:         Both DIP Credit Agreement contain the following affirmative                  Proposed Final
                     covenants: Borrower shall (a) file a plan of reorganization on or            Order ¶ 3; DIP
                     before November 1, 2019; (b) obtain an order of the Court                    Credit
                     confirming a plan of reorganization on or before January 31, 2020;           Agreements
                     and (c) provide Lender with all Reporting and Disclosures required           §§ 5.8, 6.
                     under the DIP Facility.
                     Both DIP Credit Agreement contain the following negative
                     covenants: Borrower may not (a) use loan proceeds to pursue any
                     Coverage Dispute; (b) seek to terminate the stay of litigation relating
                     to the Coverage Dispute as to a DIP Lender, (excluding the litigation
                     against Liberty Insurance Underwriters); (c) enter into, or file a
                     motion seeking authority to enter into, an agreement to sell or
                     transfer substantially all of its assets; and (d) file a plan of
                     liquidation.

  EVENTS OF          Customary for financings of this type (subject to customary grace            Proposed Final
  DEFAULT:           periods for certain affirmative covenants), including, without               Order ¶ 3; DIP
                     limitation, failure to make payments when due; breaches of                   Credit
                     representations and warranties; and noncompliance with covenants,            Agreements
                     all to be set forth more fully in the DIP Credit Agreements.                 § 7.1.

  CONDITIONS TO      Both DIP Credit Agreements provide for the following conditions:             Proposed Final
  EACH DRAW          (i) execution and delivery of definitive documentation for the DIP           Order ¶ 8; DIP
                     Facility satisfactory to DIP Lender; (ii) entry of an order staying          Credit
                     Debtor’s litigation against any DIP Lender or other general liability        Agreements
                     insurer (excluding litigation by or against Liberty Insurance                § 3.2.
                     Underwriters) in connection with the Coverage Dispute; (iii) entry of
                     the Final Order by the Court satisfactory to DIP Lender; (iv); (v) no
                     default or event of default under the DIP Credit Agreement, or the
                     Final Order shall have occurred; (vi) accuracy of representations in
                     all material respects (or, with respect to representations qualified by
                     materiality, in all respects); and (vii) the Final Order, shall be in full
                     force and effect.

  INDEMNIFICATION:   Both DIP Credit Agreements provide that the Borrower shall                   Proposed Final
                     indemnify the DIP Lender and its respective affiliates, and their            Order ¶ 3; DIP
                     respective agents, sub-agents, members, officers, partners, directors,       Credit
                     trustees, employees, representatives and advisors (each such Person          Agreements
                     being called an “Indemnitee”) against, and hold each Indemnitee              § 8.8.
                     harmless from, any and all losses, claims, causes of action, damages,
                     liabilities, settlement payments, costs, and expenses (including,
                     without limitation, the fees, charges and disbursements of any
                     counsel for any Indemnitee), incurred by any Indemnitee or asserted
                     or awarded against any Indemnitee by any third party or by the
                     Debtor arising out of, in connection with, or as a result of (including,
                     without limitation, any investigation, litigation or proceeding
                     commenced or threatened by any person arising out of or related to)
                     the execution or delivery of the DIP Credit Agreement, any other
                     definitive loan document for the DIP Facility or any agreement or



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                        instrument contemplated thereby, the performance by the parties
                        thereto of their respective obligations thereunder, the consummation
                        of the transactions contemplated thereby or use of proceeds thereof,
                        the administration of the DIP Credit Agreement, the DIP Lender’s
                        conduct undertaken in the capacity of a DIP Lender in the
                        Bankruptcy proceedings of the Debtor or customary environmental
                        matters, provided that such indemnity shall not, as to any
                        Indemnitee, be available to the extent that such losses, claims,
                        damages, liabilities or related expenses: (a) are determined by a
                        court of competent jurisdiction by final and nonappealable judgment
                        to have resulted from the bad faith, gross negligence or willful
                        misconduct of such Indemnitee; or (b) arise out of, or are in
                        connection with or relate to or are as a result of any Indemnitee’s
                        obligations under any prepetition insurance contract provided by any
                        Indemnitee or other insurer to the Borrower. For the avoidance of
                        doubt, claims against the Indemnitees in their capacity as insurers of
                        the Debtor are not indemnified.

  GOVERNING LAW:        New York.                                                                Proposed Final
                                                                                                 Order ¶ 3; DIP
                                                                                                 Credit
                                                                                                 Agreements
                                                                                                 § 8.12.

  EXIT FINANCING        Both DIP Lenders will roll 100% of the then outstanding DIP Loans        Proposed Final
                        into a two year [24 month] term loan facility with balloon maturity      Order ¶ 3; DIP
                        at the same Interest Rate, provided (a) the plan of reorganization is    Credit
                        reasonably acceptable to DIP Lender, and (b) no default under the        Agreements
                        DIP Credit Agreement shall have occurred prior to the Effective          § 2.6.
                        Date of the plan of reorganization.

  GOOD FAITH            Both DIP Credit Agreements provide that the Debtor will seek entry       Proposed Final
  PROTECTION            of a Final Order granting the DIP Lender the protection afforded         Order ¶ 10;
                        under section 364(e), namely, that no appeal, modification,              DIP Credit
                        amendment, or vacatur of the Final Order shall affect the validity       Agreements
                        and enforceability of any advances made thereunder or any priority       § 3.2(a).
                        authorized or created by the Final Order.



        7.      Pursuant to Local Rule 4001-2(b), USAG makes the following further disclosures.

 First, there are no provisions in either DIP Credit Agreements that limit, restrict, or otherwise

 affect specific terms of a plan of reorganization, although the confirmed plan of reorganization

 must be reasonably acceptable to each DIP Lenders as a condition of the extension of exit

 financing. Second, the DIP Credit Agreements provide disparate treatment for certain fees incurred

 by professionals of the Debtor and the Survivors Committee. There is a cap to the amount of


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 professional fees incurred after the Carve Out Trigger Date (as defined in the DIP Credit

 Agreements) that will be paid prior to each DIP Lender’s superpriority administrative expense

 claims. Specifically, up to $75,000 of allowed fees and expenses for the Survivors Committee’s

 professionals incurred after the Carve Out Trigger Date may be granted priority over the DIP

 Lenders’ claims, whereas $150,000 of such allowed fees and expenses for the Debtor’s

 professionals fees may be granted priority over the DIP Lenders’ claims. The basis for this higher

 Carve Out is to reflect the additional work that the Debtor’s counsel is likely to be required to

 perform as opposed to the Survivors Committee’s counsel. Finally, the DIP Credit Agreements do

 not provide for the cross-collateralization of any debt, grant or prime any liens in any collateral,

 impose any budget upon USAG, or require USAG to pay any financing fees or costs.

                                     RELIEF REQUESTED

        8.      By this Motion, the Debtor seeks entry of a final order, pursuant to sections 364,

 503, and 507 of the Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2, authorizing

 the Debtor to enter into post-petition financing agreements on the terms and conditions set forth in

 (i) the DIP Credit Agreement, by and among the Debtor, as Borrower, and Virginia Surety, as the

 DIP Lender, and (ii) the DIP Credit Agreement, by and among the Debtor, as Borrower, and Great

 American, as DIP Lender, and granting superpriority administrative expense status to the claims

 of the DIP Lenders in accordance with the DIP Credit Agreements.

                                       BASIS FOR RELIEF

 I.     The DIP Credit Agreements Are The Best Post-Petition Financing Reasonably
        Available To The Debtor And Are Necessary To Preserve The Value Of The Debtor’s
        Estate.

        9.      The Debtor seeks approval of the DIP Credit Agreements, including their grant of

 superpriority administrative expense claims to the DIP Lenders, under section 364(c)(1) of the

 Bankruptcy Code. That section provides that the Court, after notice and a hearing, may authorize

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 a debtor that is unable to obtain unsecured credit allowable as an administrative expense to obtain

 credit or incur debt “with priority over any or all administrative expenses. . . .” 11 U.S.C.

 § 364(c)(1); see also In re 1191 Wood Run, LLC, 2010 WL 3310353, at *2 (Bankr. N.D. Ill.

 Mar. 24, 2010) (applying standard and granting superpriority post-petition financing).

         10.     To satisfy the requirements of section 364(c), a debtor need only demonstrate that

 it “has reasonably attempted, but failed,” to obtain credit on an unsecured or administrative

 expense basis. In re Ames Dep’t Stores, Inc., 115 B.R. 34, 37 (Bankr. S.D.N.Y. 1990). The statute

 “imposes no duty upon the [debtor] to seek credit from every possible lender” before concluding

 that such credit is unavailable. Id. (quoting Bray v. Shenandoah Fed. Sav. & Loan Assoc. (In re

 Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986)); accord In re Republic Airways Holdings,

 Inc., 2016 WL 2616717, at *10 (Bankr. S.D.N.Y. May 4, 2016). When few lenders are likely to

 be able and willing to extend the necessary post-petition credit to a debtor, secured or otherwise,

 “it would be unrealistic and unnecessary to require [the debtor] to conduct such an exhaustive

 search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988); cf. Matter

 of Standard Oil & Exploration of Delaware, Inc., 136 B.R. 141, 146 (Bankr. W.D. Mich. 1992)

 (approving secured post-petition financing and noting that financing pursuant to section 364 need

 not come from traditional financial lenders).

         11.     Further, when “determining whether to authorize post-petition financing,

 bankruptcy courts will generally defer to the debtor's business judgment.” Republic Airways

 Holdings, 2016 WL 2616717, at *11. Courts will consider whether a debtor negotiated and

 proposed a post-petition financing agreement in “good faith,” 1191 Wood Run, LLC, 2010 WL

 3310353, at *2, which is presumed under the business judgment rule unless it is shown that the

 “purpose” of the financing “is not so much to benefit the estate as it is to benefit a party in interest.”



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 Ames Dep’t Stores, 115 B.R. at 40. It is an appropriate exercise of a debtor’s business judgment to

 consider certain non-economic factors in drafting the terms of a deal, such as the likelihood of the

 financing agreement increasing the chances of a “successful reorganization” by avoiding or

 reducing conflicts among necessary creditor constituencies. In re ION Media Networks, Inc., 2009

 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

        12.     The Debtor has met these standards here. Given the circumstances, the Debtor

 could not obtain credit on an unsecured or administrative expense basis. The Debtor’s bank, PNC

 Bank, provides the Debtor with credit in the form of purchase cards which are used to pay for

 many of the Debtor’s ordinary course expenses. PNC Bank has required a cash deposit equal to

 the amount of the credit limit for the cards and will not extend credit on an unsecured basis alone.

 The Debtor has also exercised proper business judgment in proposing the DIP Credit Agreements

 on terms that are fair and reasonable and the best available to it in the current market.

        13.     When it became apparent that post-petition financing was necessary, the Debtor,

 together with its advisors, contacted its insurers to determine which could provide post-petition

 financing on the best terms. The only potential lenders available to the Debtor were its insurers,

 who have a vested interest in the orderly and equitable resolution of this chapter 11 case. It was

 therefore reasonable for the Debtor to commence discussions with its insurers and to settle on the

 deal terms negotiated with the DIP Lenders.

        14.     The provisions of the DIP Credit Agreements are fair, reasonable, and the best

 available in the market accessible by the Debtor. The Debtor will be required to pay only accrued

 interest upon maturity. The covenants in the DIP Credit Agreements are customary for financings

 of this type and not unnecessarily restrictive. And the milestones set forth in the DIP Credit




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 Agreements are not unduly burdensome, especially since they accord with the Debtor’s stated

 plans for this chapter 11 case—namely, to propose and confirm a plan within the year.

        15.     The DIP Credit Agreements are also carefully drafted to promote a successful

 reorganization by not impacting the recoveries of sexual abuse claimants, which would likely lead

 to disputes and litigation. Because outstanding amounts under the DIP Credit Agreements will,

 subject to the terms of the DIP Credit Agreements, be rolled up into an exit financing upon the

 conclusion of this chapter 11 case, the Debtor will not be required to pay the DIP Lenders’

 superpriority administrative expense claims in cash upon confirmation. Thus, the costs of this

 financing will be borne by the Debtor after this case concludes, not by the Debtor’s claimants

 during this chapter 11 case.

        16.     The DIP Credit Agreements provide the Debtor with the liquidity it needs, at the

 lowest cost available and in a manner best suited to support the prospects of a successful

 reorganization. The terms of the DIP Credit Agreements are the product of extensive and good

 faith negotiations between the Debtor and the DIP Lenders, each of whom was represented by

 experienced counsel. Through these arms-length negotiations, the Debtor was able to secure the

 most favorable terms possible for the DIP Credit Agreements, and the Debtor was not able to

 obtain financing on better terms without providing each DIP Lenders with superpriority

 administrative expense claims. The DIP Credit Agreements are the best post-petition financing

 options that are reasonably available to the Debtor and entering into the DIP Credit Agreements is

 an appropriate exercise of the Debtor’s business judgment.

        17.     Finally, the Debtor needs immediate authority to enter into the DIP Credit

 Agreements in order to fulfill its fiduciary duty to protect and maximize estate assets. See In re




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 Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (the chapter 11 “debtor-in-possession . . . owe[s] a

 fiduciary duty to his unsecured creditors”).

        18.     For the foregoing reasons, the Debtor respectfully requests that the Court authorize

 it to enter into the DIP Credit Agreements and grant each of the DIP Lender a superpriority

 administrative expense claims in accordance with the terms thereof.

 II.    The Scope Of The Carve Out Is Appropriate And Should Be Approved.

        19.     The DIP Lenders’ superpriority administrative expense claims are subject to a

 Carve Out for professional fees incurred by the Debtor, the Survivors Committee, and a future

 claimants’ representative, as well as fees owed to the Clerk of the Court and the Office of the

 United States Trustee. Without the Carve Out, the interests of the Debtor, individual sexual abuse

 claimants, and other parties in interest would be adversely affected because the services for which

 professionals may be paid would be restricted. See Ames Dep’t Stores, Inc., 115 B.R. at 40

 (observing that courts insist on carve-outs for professionals representing parties in interest “in

 order to preserve the adversary system” and because “[a]bsent such protection, the collective rights

 and expectations of all parties in interest are sorely prejudiced”). The Carve Out ensures that

 professionals in this chapter 11 case will be able to vigorously represent their constituencies, to

 the benefit of all parties in interest. Additionally, the Carve Out protects against the Debtor’s

 administrative insolvency by requiring that assets remain available for paying fees owed to the

 Clerk of the Court and the U.S. Trustee. Finally, the Carve Out is acceptable to the DIP Lenders,

 even though it primes the DIP Lenders’ superpriority administrative expense claims.

        20.     For the foregoing reasons, the Carve Out is reasonable and appropriate and should

 be approved.




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 III.   The DIP Lenders Should Be Deemed Good Faith Lenders Under Section 364(e).

        21.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect

 on loans extended to a debtor, even if the authority of the debtor to obtain such loans is later

 reversed or modified on appeal. Specifically, section 364(e) provides that:

        The reversal or modification on appeal of an authorization under this section [364
        of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
        section of a priority or a lien, does not affect the validity of any debt so incurred, or
        any priority or lien so granted, to an entity that extended such credit in good faith,
        whether or not such entity knew of the pendency of the appeal, unless such
        authorization and the incurring of such debt, or the granting of such priority or lien,
        were stayed pending appeal.

 11 U.S.C. § 364(e).

        22.     Because “good faith” is not defined in section 364(e), courts often look to case law

 under section 363(m). 7 COLLIER ON BANKRUPTCY ¶ 364.08 (16th ed. 2018) (“Section 364(e) is

 consistent with section 363(m), which provides similar protection to a buyer or lessee of property

 of the estate in a section 363 transaction.”). As courts within the Seventh Circuit have recognized,

 the misconduct that invalidates a purchaser’s good faith status under the Bankruptcy Code involves

 “fraud,” “collusion,” or “an attempt to take grossly unfair advantage of other bidders.” R-Group

 Investments, Inc. v. Noddah, LLC, 2015 WL 5731735, at *5 (N.D. Ill. Sept. 30, 2015) (quoting In

 re Rock Indus. Machine Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)).

        23.     None of these facts are present here. The DIP Credit Agreements are the result of

 the Debtor’s reasonable and informed determination that the DIP Lenders offered the most

 favorable terms on which to obtain post-petition financing. The DIP Credit Agreements are “an

 arms-length transaction between independent entities seeking to further their own commercial

 interests,” and accordingly were entered into in good faith. In re Olde Prairie Block Owner, LLC,

 460 B.R. 500, 509 (N.D. Ill. 2011) (dismissing appeal of unstayed post-petition order where parties

 negotiated transaction in good faith); see also In re General Growth Properties, 423 B.R. 716, 722

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 (S.D.N.Y. 2010) (finding good faith based on testimony that the terms of the post-petition

 financing were “vigorously negotiated at arm’s length”).

         24.     The DIP Lenders’ good faith is manifest. The DIP Credit Agreements feature terms

 that are highly attractive to the Debtor and its estate, as described above. In addition, the DIP Credit

 Agreements do not improperly cede control of the Debtor’s operations to the DIP Lenders through

 the use of excessive financial covenants, restrictive approved budgets, or unreasonable case

 milestones. Finally, Advances under the DIP Credit Agreements will be used only for purposes

 that are permissible under the Bankruptcy Code and in the DIP Credit Agreements and no

 consideration is being provided to the DIP Lenders other than as described herein and in the DIP

 Credit Agreements.

         25.     Accordingly, the Court should find that the DIP Lenders are good faith lenders

 within the meaning of section 364(e) of the Bankruptcy Code and are entitled to the protections

 afforded by that section.

 IV.     The Court Should Grant The Relief Requested Herein On A Final Basis.

         26.     Pursuant to Bankruptcy Rule 4001, the “court may commence a final hearing on a

 motion for authority to obtain credit no earlier than 14 days after service of the motion.” Fed. R.

 Bankr. P. 4001(c)(2). The Debtor has contemporaneously filed a motion to shorten notice under

 the Order Granting Debtor’s Motion For Order Establishing Certain Notice, Case Management,

 And Administrative Procedures [Dkt. No. 213] (the “Case Management Procedures”) to set this

 Motion to be heard at the next omnibus hearing on May 15, 2019, which is 14 days after the date

 this Motion has been filed and served. Accordingly, Bankruptcy Rule 4001 permits the Court to

 grant the Motion on a final basis and the Debtor requests that it do so.




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                                              NOTICE

         27.     The Debtor will provide notice of this Motion in accordance with the Case

 Management Procedures and Bankruptcy Rule 4001. In light of the nature of the relief requested

 herein, the Debtor submits that no other or further notice is necessary.

         WHEREFORE, the Debtor respectfully requests that the Court enter the final order

 substantially in the form annexed hereto as Exhibit A, granting the relief requested herein and such

 further relief as is just and proper.

 Dated: May 1, 2019                                    Respectfully submitted,


                                                       JENNER & BLOCK LLP

                                                       By: /s/ Catherine Steege
                                                       Catherine L. Steege (admitted pro hac vice)
                                                       Dean N. Panos (admitted pro hac vice)
                                                       Melissa M. Root (#24230-49)
                                                       353 N. Clark Street
                                                       Chicago, Illinois 60654
                                                       (312) 222-9350
                                                       csteege@jenner.com
                                                       dpanos@jenner.com
                                                       mroot@jenner.com

                                                       Counsel for the Debtor




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